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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


BRAEMAR HOTELS & RESORTS INC.,

                                       Plaintiff,                    Civil Action No. 3:24-cv-707-L
                       v.
                                                                        Consolidated with:
BLACKWELLS CAPITAL LLC, ET AL.,

                                       Defendants,
                                                                     Civil Action No. 3:24-cv-894-L




                   JOINT STIPULATION OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all parties to this consolidated action, Braemar

Hotels & Resorts Inc., Blackwells Capital LLC, Blackwells Onshore I, LLC, Blackwells Holding

Co. LLC, Vandewater Capital Holdings, LLC, Blackwells Asset Management LLC, BW Coinvest

Management I LLC, Jason Aintabi, Michael Cricenti, Jennifer M. Hill, Betsy L. McCoy, Steven

J. Pully, and Montgomery J. Bennett, Stefani Danielle Carter, Richard J. Stockton, Kenneth H.

Fearn, Jr., Abteen Vaziri, Mary Candace Evans, Matthew D. Rinaldi, and Rebeca Odino-Johnson

(together “the parties”), file this Joint Stipulation of Voluntary Dismissal and hereby stipulate and

agree that all claims, counterclaims, and third party claims asserted by all parties shall be dismissed

with prejudice. The parties have separately agreed to the allocation of costs and attorney fees.



Dated: July 3, 2024                                      Respectfully submitted,
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AKIN GUMP STRAUSS HAUER & FELD                       VINSON & ELKINS LLP
LLP

/s/ M. Scott Barnard                                 /s/ Robert Ritchie
M. Scott Barnard                                     Robert Ritchie
Texas Bar No. 24001690                               Texas Bar No. 24079213
Tabitha Kempf                                        K. Virginia Burke DeBeer
Texas Bar No. 24139777                               Texas Bar No. 24097437
2300 N. Field Street                                 2001 Ross Avenue
Ste. 1800                                            Dallas, TX 75201
Dallas, TX 75201                                     Telephone: (214) 220-7823
Telephone: 214-969-4299                              Facsimile: (214) 999-7823
Facsimile: 214-969-4343                              Email: rritchie@velaw.com
Email: sbarnard@akingump.com                         Email: vdebeer@velaw.com
Email: tkempf@akingump.com
                                                     Attorneys       for      Defendant/Counter
CADWALADER WICKERSHAM & TAFT                         Plaintiff/Third Party Plaintiff Blackwells
LLP, Of Counsel                                      Capital LLC and Defendants Blackwells
                                                     Onshore I, LLC, Blackwells Holding Co.
Adam K. Magid (Admitted Pro Hac Vice)                LLC, Vandewater Capital Holdings, LLC,
New York Bar No. 4652202                             Blackwells Asset Management LLC, BW
Samuel G. Mann (Admitted Pro Hac Vice)               Coinvest Management I LLC, Jason Aintabi,
New York Bar No. 5233036                             Michael Cricenti, Jennifer M. Hill, Betsy L.
Sanders Keyes Gilmer (Admitted Pro Hac               McCoy, and Steven J. Pully
Vice)
D.C. Bar No. 90019265
200 Liberty Street
New York, NY 10281
Telephone: (212) 504-6000
Facsimile: (212) 406-6666
Email: adam.magid@cwt.com
Email: samuel.mann@cwt.com
Email: keyes.gilmer@cwt.com


Attorneys for Plaintiff/Counter Defendant
Braemar Hotels & Resorts Inc. and Third
Party Defendants Montgomery J. Bennett,
Stefani Danielle Carter, Richard J. Stockton,
Kenneth H. Fearn, Jr., Abteen Vaziri, Mary
Candace Evans, Matthew D. Rinaldi, and
Rebeca Odino-Johnson
